     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 1 of 25 Page ID
                                     #:41106


 1
       JEFFREY BOSSERT CLARK
 2     Acting Assistant Attorney General
       Civil Division
 3
       AUGUST E. FLENTJE
 4     Special Counsel to the Assistant Attorney General
 5     Civil Division
       WILLIAM C. PEACHEY
 6     Director, District Court Section
 7     Office of Immigration Litigation
       WILLIAM C. SILVIS
 8     Assistant Director, District Court Section
 9     Office of Immigration Litigation
       SARAH B. FABIAN
10     NICOLE N. MURLEY
11     Senior Litigation Counsel
        Tel: (202) 532-4824
12
        Fax: (202) 305-7000
13      Email: Sarah.B.Fabian@usdoj.gov
14
             Attorneys for Defendants
15
                        UNITED STATES DISTRICT COURT
16
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18
19
      JENNY LISETTE FLORES; et al.,           Case No. CV 85-4544-DMG
20
21
             Plaintiffs,                      DEFENDANTS’ EX PARTE
                                              APPLICATION TO STAY
22                v.                          ORDER, ECF No. 976;
23                                            MEMORANDUM OF POINTS
      WILLIAM P. BARR, Attorney               AND AUTHORITIES;
24    General of the United States; et al.,   SUPPORTING DECLARATION
25
                                              Hearing Date: Not set
26
             Defendants.

27
                                              Hon. Dolly M. Gee
                                              [Proposed] Order Filed Concurrently
28
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 2 of 25 Page ID
                                     #:41107


 1
 2
                                 EX PARTE APPLICATION

 3            Pursuant to Local Rule 7-19, Defendants apply to this Court ex parte to
 4     request a stay of the Court’s September 4, 2020 Order pending resolution of the
 5
       government’s appeal from that order to the U.S. Court of Appeals for the Ninth
 6
       Circuit. This request is necessary given the Order’s impact on critical public-health
 7
 8
       measures adopted by the U.S. Centers for Disease Control and Prevention (CDC)

 9     in response to the COVID-19 pandemic. Defendants also provide significant
10     evidence showing that the Order presents risks to the public and minors in the
11
       custody of the Office of Refugee Resettlement (ORR) and U.S. Immigration and
12
       Customs Enforcement (ICE), as well as minors who will now be transferred to
13
       ORR and ICE custody. At the same time, Defendants raise serious and important
14
15     issues on appeal—including challenging this Court’s rulings that the Flores
16     Settlement Agreement applies to minors in custody under the CDC order, and that
17     such custody does not comply with the Agreement—on which Defendants are
18
       likely to prevail.
19
              The Court should stay the Order pending appeal, given the potentially
20
21     harmful and wide-reaching effects of the Order on critical CDC measures, so that
22     the Ninth Circuit can have the opportunity to resolve, before any such harms occur,
23     whether the Agreement even applies here, the scope of its application in this
24
       context, and the government’s compliance with the Agreement in this context.
25
       Accordingly, the government respectfully asks this Court to grant a stay pending
26
27     resolution of its pending appeal.

28
                                                  i
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 3 of 25 Page ID
                                     #:41108


 1
 2
             Urgency: This order is sought by means of an ex parte application because

 3     the Ninth Circuit has administratively stayed the Order through September 23,
 4     2020, to allow Defendants to seek this relief from the District Court, and therefore
 5
       there is insufficient time to seek a stay of proceedings by noticed motion before
 6
       that administrative stay terminates.
 7
 8
             Notice: Pursuant to L.R. 7-19.1, on September 17, 2020, Defendants’

 9     counsel notified Plaintiffs’ counsel of the substance of this application. Declaration
10     of Sarah B. Fabian ¶ 3. Carlos Holguin, counsel for Plaintiffs, indicated that
11
       Plaintiffs will oppose Defendants’ Application. Id. ¶ 4. On September 17, 2020,
12
       Defendants’ counsel also gave Plaintiffs’ counsel notice that opposing papers must
13
       be filed no later than 24 hours (or one court day) following service. Id. ¶ 3.
14
15     Plaintiffs’ counsel was further advised that if Plaintiffs do not intend to oppose the
16     ex parte application, counsel must inform the Courtroom Deputy Clerk as soon as
17     possible. Id. Pursuant to L.R. 7-19, Mr. Holguin’s address and contact information
18
       are as stated in the attached declaration. Id. ¶ 5.
19
20
21     ///
22
23     ///
24
25
       ///
26
27
28
                                                   ii
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 4 of 25 Page ID
                                     #:41109


 1
       Dated: September 17, 2020     Respectfully submitted,
 2
                                     JEFFREY BOSSERT CLARK
 3
                                     Acting Assistant Attorney General
 4                                   SCOTT G. STEWART
 5                                   Deputy Assistant Attorney General
                                     AUGUST E. FLENTJE
 6                                   Special Counsel to the Assistant Attorney
 7                                   General
                                     WILLIAM C. PEACHEY
 8                                   Director, District Court Section
 9                                   Office of Immigration Litigation
                                     WILLIAM C. SILVIS
10                                   Assistant Director, District Court Section
11                                   Office of Immigration Litigation
12
                                   By: Sarah B. Fabian
13                                   SARAH B. FABIAN
                                     NICOLE N. MURLEY
14
                                     Senior Litigation Counsel
15                                   Office of Immigration Litigation
16
                                     U.S. Department of Justice
                                     Civil Division
17                                   P.O. Box 868, Ben Franklin Station
18                                   Washington, D.C. 20044
                                     Tel: (202) 532-4824
19                                   Email: sarah.b.fabian@usdoj.gov
20
                                     Attorneys for Defendants
21
22
23
24
25
26
27
28
                                             iii
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 5 of 25 Page ID
                                     #:41110


 1
 2
                   MEMORANDUM OF POINTS AND AUTHORITIES

 3           This Court should stay its September 4 Order pending resolution of the
 4     government’s appeal from that Order. The Order risks significant harm to critical
 5
       public-health measures adopted by the U.S. Centers for Disease Control and
 6
       Prevention (CDC) in response to the COVID-19 pandemic. The Order presents
 7
 8
       risks to the public, to other minors already in the custody of the Office of Refugee

 9     Resettlement (ORR) and U.S. Immigration and Customs Enforcement (ICE), and
10     to minors who will now be transferred to congregate-care facilities in direct
11
       contravention of the directives of the CDC. Defendants raise serious and important
12
       arguments on appeal that the Ninth Circuit should have the opportunity to resolve
13
       before the Order is permitted to affect this critical public-health measure. Most
14
15     notably, the government disagrees with this Court’s ruling that the Flores
16     Settlement Agreement applies to the custody of minors subject to the CDC order.
17     This is a critical threshold issue that the Ninth Circuit should have the opportunity
18
       to resolve before the Order takes effect. Moreover, the government is challenging
19
       this Court’s rulings on the manner in which the Court held that the Agreement must
20
21     be applied to the implementation of the CDC Order and the government’s
22     compliance with the Agreement. The government is likely to prevail on the merits
23     of its appeal and, given the substantial potential impacts of moving forward with
24
       implementation of the Order, there is good reason to let the Ninth Circuit review
25
       this Court’s application of the Agreement’s terms to the CDC order while the
26
27     September 4 Order is stayed.

28
                                                 1
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 6 of 25 Page ID
                                     #:41111


 1
 2
             There are, accordingly, compelling grounds to stay the Order pending

 3     appeal, given the potentially harmful and wide-reaching impacts of the Order on
 4     the CDC Title 42 process and the government’s strong merits arguments, so that
 5
       the Ninth Circuit can have the opportunity to resolve the important questions about
 6
       the Agreement’s application here. Accordingly, the government respectfully asks
 7
 8
       this Court to grant a stay pending resolution of its pending appeal.

 9                              RELEVANT BACKGROUND
10                                   COVID-19 Pandemic
11
             Nearly a quarter century after the Flores Settlement Agreement was
12
       executed, the United States was called upon to respond to the COVID-19
13
       pandemic. As part of that response, in March the CDC issued an order under 42
14
15     U.S.C. § 265. Order, 85 Fed. Reg. 17060; Extension of Order, 85 Fed. Reg. 22424;
16     Amendment and Extension of Order, 85 Fed. Reg. 31503. Enacted in 1944 as part
17     of the Public Health Service Act, section 265 authorizes the CDC Director, in
18
       response to a “serious danger of the introduction of [a communicable disease in a
19
       foreign country] into the United States,” to “prohibit, in whole or in part, the
20
21     introduction of persons and property from such countries or places as he shall
22     designate in order to avert such danger, and for such period of time as he may deem
23     necessary for such purpose.” 42 U.S.C. § 265. The CDC order “applies to persons
24
       traveling from Canada or Mexico (regardless of their country of origin) who would
25
       otherwise be introduced into a congregate setting in a land Port of Entry (POE) or
26
27     Border Patrol station at or near the United States borders with Canada and

28
                                                 2
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 7 of 25 Page ID
                                     #:41112


 1
 2
       Mexico.” 85 Fed. Reg. at 17061. The order explains that “[t]he introduction into

 3     congregate settings in land POEs and Border Patrol stations of persons from
 4     Canada or Mexico increases the already serious danger to the public health to the
 5
       point of requiring a temporary suspension of the introduction of such persons into
 6
       the United States.” Id. The CDC Director has extended the order on the ground
 7
 8
       that “there remains a serious risk to the public health that COVID-19 will continue

 9     to spread to unaffected communities within the United States, or further burden
10     already affected areas.” 85 Fed. Reg. at 31505. The CDC has determined that the
11
       CDC order “significantly mitigated the specific public health risk identified in the
12
       initial Order.” Id.
13
             Title 42 also provides that “[i]t shall be the duty of the customs officers[ 1]
14
15     and of Coast Guard officers to aid in the enforcement of quarantine rules and
16     regulations.” 42 U.S.C. § 268. In line with that provision, and given the CDC’s
17     limited resources, in issuing its order the CDC directed customs officers of the U.S.
18
       Department of Homeland Security (DHS) to assist in implementing the order 85
19
       Fed. Reg. at 17067.
20
21           The CDC order directs that covered aliens should be moved to their country
22     of last transit or their country of origin “as rapidly as possible, with as little time
23     spent in congregate settings as practicable under the circumstances.” 85 Fed. Reg.
24
25
       1
        The term “customs officer” means an “officer of the United States Customs
26
       Service of the Treasury Department.” 19 U.S.C. § 1401(i). The Homeland
27     Security Act transferred the relevant Treasury Department functions to the
       Department of Homeland Security. 6 U.S.C. §203(1).
28
                                             3
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 8 of 25 Page ID
                                     #:41113


 1
 2
       at 17067. On a case-by-case basis, U.S. Customs and Border Protection (CBP)

 3     may except a minor from the CDC order and process a minor under Title 8. 85
 4     Fed. Reg. at 17061; Testimony of Mark A. Morgan, CBP, June 25, 2020, at 3,
 5
          https://www.hsgac.senate.gov/imo/media/doc/Testimony-Morgan-2020-06-25-
 6
       REVISED.pdf.
 7
 8
             When they cannot be moved immediately to their country of last transit,

 9     minors and families under the CDC order may be housed in hotels. First Harper
10     Decl. ¶ 2, Dkt. 925-1. These hotels provide amenities and help implement the CDC
11
       order’s directive “that covered aliens spend as little time in congregate settings as
12
       practicable under the circumstances.” 85 Fed. Reg. at 17067. Custody in hotels is
13
       accomplished through a contract with MVM Inc., which specializes in the
14
15     transportation and care of this vulnerable population. First Harper Decl. ¶¶ 2, 3;
16     Hott Decl. ¶ 12 (Ex. 3 hereto); Second Harper Decl. ¶¶ 3-5 (Ex. 4 hereto). The
17     contract ICE and MVM details stringent requirements with which MVM must
18
       comply in order to care for minors. Second Harper Decl. ¶ 3, Att. A. MVM hires
19
       specialists who interact with and care for minors and family groups/units while
20
21     they are in the hotel. First Harper Decl. ¶¶ 2, 3; Second Harper Decl. ¶ 4, Att. B
22     and C. At the hotels, minors are provided amenities, medical care and daily
23     medical screenings by a medical professional, and protections against COVID-19.
24
       First Harper Decl. ¶¶ 13-20. An independently contracted inspection team
25
       conducts unannounced virtual inspections at the hotels to verify conditions at the
26
27
28
                                                 4
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 9 of 25 Page ID
                                     #:41114


 1
 2
       hotels are humane and safe. Second Harper Decl. ¶ 5. The latest inspections in

 3     each of the three cities occurred on July 16, July 30, and August 3. Id.
 4                            Procedural History of This Matter
 5
             On August 14, Plaintiffs filed a motion to enforce, arguing that the
 6
       government’s use of hotels to house minors under the CDC’s order violates the
 7
 8
       Agreement. Dkt. 920, 920-1. On September 4, this Court granted the motion.

 9     Order, Dkt. 976. The Court stayed the September 4 Order until September 8, and
10     allowed the government until September 15 to implement portions of the Order.
11
       Id. ¶ 2. The government appealed from the Order to the Ninth Circuit on September
12
       10, 9th Cir. No. 20-55951, and filed a motion with that Court to stay the Order on
13
       September 11. 9th Cir. Dkt. 2. On September 12, the Ninth Circuit granted an
14
15     administrative stay of the Order through September 16. 9th Cir. Dkt. 5. On
16     September 16, the Ninth Circuit denied without prejudice the government’s motion
17     for a stay pending appeal, and extended the administrative stay through September
18
       23 to permit this Court to consider a stay request from the government. 9th Cir.
19
       Dkt. 8 at 1-2. The court of appeals stated that the government could renew its stay
20
21     request in the Ninth Circuit after it was presented to this Court. Id. The court of
22     appeals expedited briefing in the appeal; briefing is scheduled to finish by
23     November 20, 2020. Id. at 2.
24
25
26
27
28
                                                5
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 10 of 25 Page ID
                                     #:41115


 1
 2
                                  STANDARD OF REVIEW

 3            A district court “has broad discretion to stay proceedings as an incident to
 4      its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706–07
 5
        (1997).
 6
                                         ARGUMENT
 7
 8
              The Court should stay its September 4, 2020 Order pending resolution of the

 9      government’s appeal from that Order. A stay is warranted because the Order risks
10      significant damage to the United States’ response to the COVID-19 pandemic, and
11
        thus presents risks to the public and minors in ORR and ICE custody, as well as
12
        minors who will now be transferred to ORR and ICE custody. A stay is also
13
        warranted because Defendants raise serious and important issues on appeal—
14
15      issues on which they are likely to succeed on appeal—and the Ninth Circuit should
16      have the opportunity to resolve these issues before the Order harms the important
17      CDC public-health measure at issue here.
18
        I.        A Stay Is Needed To Prevent Immediate Irreparable Harm To The
19
                  Public and to Flores Class Members.
20
              The Order threatens serious, irreparable harm and undermines the public
21
        interest. To start, the order will obstruct the government’s implementation of the
22
23      CDC order, which was issued to prevent the unchecked introduction of COVID-19
24      into the United States. The crux of the CDC’s order is that introducing individuals
25      into congregate-care facilities increases the already serious danger to the public
26
        health, including further transmission and spread of COVID-19. 85 Fed. Reg. at
27
28
                                                 6
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 11 of 25 Page ID
                                     #:41116


 1
 2
        17061. The Title 42 process that the government has developed, including the use

 3      of hotels to briefly house minors undergoing this process, serves the aims of the
 4      CDC’s order in this regard. The public interest is served by allowing the nation’s
 5
        chief public-health expert, the CDC Director, to determine how his emergency
 6
        health powers will be operationalized during a global pandemic. See S. Bay United
 7
 8
        Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613-14 (2020) (Roberts, C.J.,

 9      concurring) (the government’s actions to protect the public from a global pandemic
10      “should not be subject to second-guessing by an ‘unelected federal judiciary,’
11
        which lacks the background, competence, and expertise to assess public health and
12
        is not accountable to the people”).
13
              The September 4 Order also increases the already-serious dangers to minors
14
15      in ICE and ORR facilities, as well as minors who will now be placed into
16      congregate-care facilities under the September 4 Order. Notably, Plaintiffs have
17      vehemently argued to this Court that there are inherent dangers to holding minors
18
        in congregate settings given COVID-19. See, e.g., Dkt. 733-1 at 8 (Plaintiffs
19
        argued: “The congregate detention conditions at Defendants’ ICE and ORR
20
21      facilities renders it nearly impossible for detained class members to engage in the
22      required infection control policies, such as social distancing and increased hygiene,
23      necessary to mitigate the risk of COVID-19 transmission.”). This Court also
24
        concluded that the government has been able to address the pandemic in ORR
25
        facilities because it has kept its volume significantly below normal capacity.
26
27      Order, Dkt. 740 at 7 (concluding that the Agreement’s requirements are met

28
                                                  7
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 12 of 25 Page ID
                                     #:41117


 1
 2
        because “ORR’s care-provider facilities are operating significantly below their

 3      maximum capacity and historical highs” and because “[r]ecent CDC orders
 4      prohibiting the entrance of unaccompanied children into the United States will also
 5
        likely decrease ORR’s custodial population”). Yet the Court’s Order now requires
 6
        that all minors and families who would have been held in individual rooms in a
 7
 8
        hotel, and then moved to their home country or another location as practicable,

 9      must now instead be placed into congregate settings with ICE or ORR. Order 17.
10            Government officials have assessed the likely results from the changed
11
        processes that will be required to implement the September 4 Order, and have
12
        concluded that they will result in increased risks to the public, to minors already in
13
        custody at ICE and ORR facilities, and to minors who will now have to be
14
15      transferred into congregate care at those facilities, in numerous ways. First,
16      implementation of the Court’s Order will increase the number of referrals of minors
17      into ICE family residential centers and ORR shelters. Ortiz Decl. ¶ 9 (Ex. 1
18
        hereto); Porvaznik Decl. ¶¶ 4-6 (Ex. 2 hereto); Hott Decl. ¶ 5; Sualog Decl. ¶¶ 13-
19
        14, 22, 43-44 (Ex. 5, Att. A hereto). Second, this increased number of referrals
20
21      into ICE and ORR custody will cause an increased risk of COVID-19 exposure in
22      U.S. Border Patrol facilities, ICE family residential centers, and ORR shelters.
23      Ortiz Decl. ¶¶ 8-13; Hott Decl. ¶¶ 6-8; Sualog Decl. ¶¶ 11, 14-16, 44-46. Third,
24
        the increased numbers, as well as the increased need to transfer minors between
25
        facilities, will increase the risk that COVID-19 will spread outside those facilities,
26
27      to local communities. Ortiz Decl. ¶ 8, 11-13; Hott Decl. ¶¶ 10-11; Sualog Decl. ¶¶

28
                                                  8
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 13 of 25 Page ID
                                     #:41118


 1
 2
        15, 20-21, 44-46, 47-49. Finally, all of these factors together will put a significant

 3      strain on the operations of all of these agencies. Ortiz Decl. ¶¶ 14-16; Hott Decl.
 4      ¶ 9, 10-11; Sualog Decl. ¶ 16, 22. With regard to ORR specifically, while it may
 5
        appear that ORR has significant available capacity to absorb these transfers, ORR’s
 6
        current success in preventing COVID-19 outbreaks at its facility is in fact due to
 7
 8
        these low numbers. Sualog Decl. ¶¶ 17-19, 27-43; Second Sualog Decl. ¶¶ 6-7

 9      (Ex. 5 hereto). In reality, there is less space that is actually available to be utilized
10      when the realities of the operations of ORR and the need for protective measures
11
        related to COVID-19 are considered. Sualog Decl. ¶¶ 45-46, 47-49; Second Sualog
12
        Decl. ¶¶ 9-11; 13-17. ORR could quickly become overwhelmed by these increased
13
        transfers and the risk of transmission of COVID-19 to minors in ORR custody as
14
15      well as the local community is extremely high. Sualog Decl. ¶¶ 17-22; Second
16      Sualog Decl. ¶¶ 10-12.
17            In light of these numerous risks to class members and the public if the Order
18
        goes into effect, Plaintiffs cannot claim that there is a comparable risk of harm to
19
        them if this Court issues a stay. Indeed, based on Plaintiffs’ ongoing efforts to halt
20
21      congregate care of minors in family residential centers and ORR facilities, it would
22      be remarkable for them now to assert that brief custody at a hotel is more harmful
23      than congregate care, particularly given that increased numbers of minors being
24
        transferred to those facilities in the absence of a stay will increase the very risks
25
        about which Plaintiffs have previously complained.            At the same time, the
26
27      government has taken extensive measures to address the risks presented by

28
                                                    9
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 14 of 25 Page ID
                                     #:41119


 1
 2
        COVID-19 for minors and families temporarily housed at hotels under Title 42.

 3      Minors have continual access to the amenities of a typical hotel room, medical care,
 4      and oversight by persons who specialize in the care of this vulnerable population.
 5
        First Harper Decl. ¶¶ 2-21; Second Harper Decl. ¶¶ 3-5, Att. A-C. And Plaintiffs
 6
        still have put forth no evidence of actual harm to any minor from being held in a
 7
 8
        hotel during Title 42 processing, but rather have always based their claims on the

 9      argument that the Agreement requires licensed placements. Dkt. 920. Thus, for
10      all of these reasons, considerations of harm and the equities support a stay.
11
              A stay is particularly warranted given the extraordinary expedition that the
12
        Ninth Circuit has granted in the government’s appeal. The Ninth Circuit has
13
        ordered that briefing be completed by November 20 and appears prepared to hear
14
15      argument as early as November 30. Given the government’s measures to care for
16      and safeguard minors in custody while being processed under Title 42, and the
17      risks presented by another approach, a stay pending expedited appeal is appropriate
18
        in the midst of this global pandemic.
19
20      II.    A Stay Is Warranted Because the Government Has Raised
               Fundamental and Important Challenges to the District Court’s Order
21             on Appeal, and Has a Significant Likelihood of Success on Appeal on
22             Those Issues.
23             A stay pending appeal also is warranted because the government has raised
24      fundamental and important challenges to the Order on appeal, and there is good
25
        reason to allow the Ninth Circuit to decide those issues—on which the government
26
        is likely to succeed—before requiring that the Order be implemented.
27
28
                                                 10
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 15 of 25 Page ID
                                     #:41120


 1
 2
              First, the government is challenging this Court’s holding that the Agreement

 3      applies to the custody at issue here. Order 5-11. The government contends that
 4      this Court erred in this holding because the Agreement applies only to minors who
 5
        are in the “legal custody of the INS” as that term was used by the parties in 1997.
 6
        Agreement ¶¶ 4, 10. Under the Agreement, “legal custody of the INS” means
 7
 8
        custody at the direction of the INS under the immigration laws in Title 8, which

 9      was the law in place in 1997 that granted the INS the authority to detain the minor.
10      Id. That the Agreement governs immigration custody under Title 8 is further
11
        evident when it is looked at in context. The Agreement settled specific issues
12
        related to custody by the INS incident to immigration proceedings, under the law
13
        governing such custody. See, e.g., id. ¶¶ 11, 14, 24.A. When the Agreement was
14
15      signed in 1997, the INS’s legal authority to detain minors was found within Title
16      8. See 8 U.S.C. §§ 1225, 1252 (1995). Such detention was incident to immigration
17      deportation and exclusion proceedings, the authority for which was also detailed
18
        in Title 8. See 8 U.S.C. §§ 1225, 1226, 1231, 1252(b) (1995). The authority for
19
        immigration proceedings, and the authority to hold alien minors in immigration
20
21      custody pending those proceedings, remains in Title 8 today. See 8 U.S.C. §§ 1225,
22      1226, 1231, 1232.     Thus, the Agreement by its terms applies to minors in
23      immigration custody under Title 8. The INS’s successors that carry out these
24
        immigration functions under Title 8 today—including immigration custody—are
25
        CBP, ICE, and USCIS, all in DHS, and ORR for UACs.
26
27
28
                                                 11
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 16 of 25 Page ID
                                     #:41121


 1
 2
              The Agreement does not encompass custody incident to the implementation

 3      of this present-day CDC order issued under 42 U.S.C. § 265. The sections of Title
 4      42 at issue here are not immigration statutes and are not limited to aliens. And
 5
        persons processed under Title 42 are not processed for immigration enforcement
 6
        actions. Rather, 42 U.S.C. § 265 provides broad authority to CDC to take action
 7
 8
        to respond to public-health emergencies, and thus authorize the custody at issue

 9      that is a necessary part of the CDC’s response. While components of DHS play a
10      role in today’s Title 42 process, that role is not based in any Title 8 immigration
11
        authority, but rather is authorized by 42 U.S.C. § 268, which provides that “[i]t
12
        shall be the duty of the customs officers and of Coast Guard officers to aid in the
13
        enforcement of quarantine rules and regulations.” (Emphases added.) Notably,
14
15      while today DHS assists HHS in implementing the CDC’s order in accordance with
16      section 268 because customs officers and the Coast Guard are now a part of DHS,
17      6 U.S.C. § 203, when the Agreement was executed in 1997, section 268 would not
18
        have applied to INS because at that time the Coast Guard and customs officers
19
        were part of the Treasury Department.
20
21            The Agreement also clearly does not apply here when it is read as a whole.
22      See Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 63 (1995) (a
23      contract “should be read to give effect to all of its provisions and to render them
24
        consistent with each other”). Section 265 was enacted in 1944, but the Agreement
25
        makes no mention of that statute, nor do any of the Agreement’s terms refer or
26
27      directly relate to custody for public-health purposes. Section 265 authorizes the

28
                                                12
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 17 of 25 Page ID
                                     #:41122


 1
 2
        CDC Director to “prohibit, in whole or in part, the introduction of persons and

 3      property from such countries or places as he shall designate in order to avert such
 4      danger, and for such period of time as he may deem necessary for such purpose.”
 5
        42 U.S.C. § 265. That authority is irreconcilable with the Agreement’s release
 6
        obligation (¶ 14). And requiring that the government transfer minors to facilities
 7
 8
        “licensed by an appropriate State agency” (¶ 6) contradicts the CDC order’s aim to

 9      prevent the “danger to the public health that results from the introduction of such
10      persons into congregate settings at or near the borders [that] is the touchstone of
11
        th[e] order.” 85 Fed. Reg. at 17061. Had the parties intended the Agreement to
12
        apply to the public-health-related custody here, they would have had to address
13
        how the Agreement’s terms were meant to apply to the type of public-health
14
15      processes—focused on averting the danger of transmission of disease—that could
16      be expected to occur under section 265. But they did not. Nothing in the
17      Agreement suggests that the parties intended it to govern—or anticipated that it
18
        would govern—procedures under 42 U.S.C. § 265, or brief incidental periods of
19
        custody necessary to implement these procedures. The Agreement does not apply
20
21      here, and the motion to enforce should have been denied.
22            In holding that the Agreement applies here, this Court relied on the fact that
23      DHS is a legal successor to the INS, and on its reading of “legal custody” as used
24
        in the Agreement to mean “the ability to provide care and supervision for the
25
        child.” Order 6. The Order holds that DHS has “legal custody” of minors during
26
27      the Title 42 process, and so concludes that “what the parties very much did

28
                                                13
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 18 of 25 Page ID
                                     #:41123


 1
 2
        anticipate is that when the successors to the INS held minors in their legal

 3      custody—whether ‘by mere coincidence’ or not—the Agreement would apply.”
 4      Order 9. The government disputes this conclusion for all of the reasons discussed
 5
        above, and contends that they are likely to succeed before the Ninth Circuit in the
 6
        argument that the Agreement does not apply here. Given the fundamental nature
 7
 8
        of this challenge, there is good reason to stay the Order to allow the Ninth Circuit

 9      to reach this issue before the Order must be implemented.
10            Second, even if the Agreement does apply to this custody, the government
11
        maintains that the Court erred in holding that the government’s use of hotels
12
        violates the Agreement. This is another critical issue that warrants resolution by
13
        the Ninth Circuit before the Order is implemented, and thus counsels in favor of
14
15      granting a stay.
16            To start, the manner in which the government uses hotels for custody as part
17      of Title 42 process satisfies the Agreement’s requirement that the government
18
        promptly transfer alien minors out of an unlicensed facility. Agreement ¶ 12;
19
        contra Order 11-13. In accordance with the Title 42 order, the government is
20
21      processing minors as expeditiously as possible, and the use of hotels provides a
22      safe and sanitary location for custody while also facilitating this quick process.
23      The Order incorrectly concludes that the Agreement requires that minors be
24
        transferred to licensed facilities within three days, ignoring that paragraph 12 of
25
        the Agreement allows that in cases of “influx” or “emergency”—including
26
27      “medical emergencies (e.g., a chicken pox epidemic among a group of minors)”—

28
                                                 14
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 19 of 25 Page ID
                                     #:41124


 1
 2
        the requirement for transfer is only that it should occur “as expeditiously as

 3      possible.” Those exceptions apply here and so any application of a strict three-day
 4      transfer rule is incorrect. And, in requiring transfer within three days, the Order
 5
        further disregards prior rulings in which this Court gave the government at least 20
 6
        days before transfer to a licensed program (to address credible fear claims). Dkt.
 7
 8
        189. The brief periods of custody in hotels at issue here, prior to release from

 9      custody under Title 42, fall far below this previously permitted time period, and
10      thus are consistent with this Court’s prior readings of the Agreement’.
11
              Moreover, in entering into the Agreement, the parties represented “that they
12
        know of nothing in this Agreement that exceeds the legal authority of the parties
13
        or is in violation of any law.” Agreement ¶ 41. Thus, the requirement of transfer
14
15      “as expeditiously as possible” should not be read in a manner that would render it
16      inconsistent with—and in violation of—42 U.S.C. § 265. Requiring that minors in
17      custody under section 265 be transferred to licensed congregate-care facilities
18
        within and throughout the United States within three days conflicts with the CDC’s
19
        efforts to exercise its authority under section 265 by prohibiting the introduction
20
21      of individuals into congregate settings based on public-health considerations. The
22      Order therefore is incorrect to interpret the Agreement to require the movement of
23      persons into congregate-care facilities throughout the United States in violation of
24
        section 265’s plain terms.
25
              The Order also errs in holding that the custody at issue is not “safe and
26
27      sanitary.” Order 13-15. This Court acknowledged that the hotel rooms and other

28
                                                 15
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 20 of 25 Page ID
                                     #:41125


 1
 2
        provided amenities “are generally sanitary under normal circumstances,” Order 13,

 3      but ruled that the conditions are not “safe.” In so ruling, the Order relies on a
 4      generalized assertion that to be safe, the hotels must provide a “system of care for
 5
        children of different ages and developmental stages.” Order 14 (emphasis added;
 6
        quoting Dkt. 938 at 21). The Agreement does not require a “system of care”—it
 7
 8
        requires “safe and sanitary” conditions, Agreement ¶ 12.A, and the government has

 9      provided those. Dkt. 925-1. Notably, this novel “system of care” requirement
10      draws from the Monitor’s reports, to which the government has objected. Dkt. 938
11
        at 15. The Monitor failed to identify the evidence supporting the purported need
12
        for a “system of care.” This undefined, amorphous requirement should not be read
13
        into the Agreement—particularly in the procedurally incorrect manner that
14
15      occurred here.    For all of these reasons, the government submits that it is
16      substantially likely to prevail on its appeal to the Ninth Circuit, and given the
17      critical importance of these issues a stay of the Order is warranted while the appeal
18
        is pending.
19
20      III.   The Court Should Issue An Administrative Stay Pending Resolution of
               This Application If It Cannot Decide the Government’s Application
21             Before September 23, And Should Order Additional Administrative-
22             Stay And Clarifying Orders If It Denies A Stay.
23             The Ninth Circuit has administratively stayed the Order through September
24      23. The government respectfully asks that if this Court does not decide the
25
        government’s application in advance of that date, the Court issue an administrative
26
        stay for the duration of its consideration and resolution of this application. If the
27
28
                                                 16
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 21 of 25 Page ID
                                     #:41126


 1
 2
        Court denies this application, the government further asks that this Court grant an

 3      administrative stay of three business days following its decision to allow the
 4      government time to seek emergency relief, if necessary, from the Ninth Circuit.
 5
        That practice would be consistent with the Ninth Circuit’s own repeated use of
 6
        administrative stays in immigration cases to allow orderly consideration of the
 7
 8
        government’s emergency stay requests. E.g., Al Otro Lado v. Wolf, No. 19-56417

 9      (9th Cir. Dec. 20, 2019) (granting an administrative stay of a preliminary injunction
10      “pending a decision on the motion for stay pending appeal”); Innovation Law Lab
11
        v. Wolf, No. 19-15716 (9th Cir. Feb. 28, 2020) (Ninth Circuit panel immediately
12
        staying its own published decision pending further order of the Ninth Circuit);
13
        Hernandez Roman v. Wolf, No. 20-55436 (9th Cir. Apr. 25, 2020) (granting
14
15      immediate administrative stay); Hernandez Roman v. Wolf, No. 20-55662 (9th Cir.
16      July 1, 2020) (granting immediate administrative stay).
17            The government also respectfully requests that, if the Court does not grant a
18
        stay pending appeal, that it clarify for the parties the deadlines and timelines of
19
        compliance under the September 4 Order. Important deadlines in the Order have
20
21      now passed (while the Order has been stayed). If the Court does not grant a stay
22      pending appeal then it is important for the government to have clarity on its
23      compliance obligations.
24
                                         CONCLUSION
25
              For the foregoing reasons, the Court should grant Defendants’ motion for a
26
27      stay of enforcement of the Court’s September 4, 2020 Order pending the resolution

28
                                                 17
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 22 of 25 Page ID
                                     #:41127


 1
 2
        of the government’s appeal from that order to the Ninth Circuit. If the Court denies

 3      a stay pending appeal, it should issue a three-business-day stay to allow the
 4      government to seek emergency relief, if necessary, from the Ninth Circuit.
 5
 6      Dated: September 17, 2020        Respectfully submitted,
 7
                                         JEFFREY BOSSERT CLARK
 8                                       Acting Assistant Attorney General
 9                                       SCOTT G. STEWART
                                         Deputy Assistant Attorney General
10                                       AUGUST E. FLENTJE
11                                       Special Counsel to the Assistant Attorney
                                         General
12
                                         WILLIAM C. PEACHEY
13                                       Director, District Court Section
                                         Office of Immigration Litigation
14
                                         WILLIAM C. SILVIS
15                                       Assistant Director, District Court Section
16
                                         Office of Immigration Litigation

17                                    By: Sarah B. Fabian
18                                      SARAH B. FABIAN
                                        NICOLE N. MURLEY
19                                      Senior Litigation Counsel
20                                      Office of Immigration Litigation
                                        U.S. Department of Justice
21                                      Civil Division
22                                      P.O. Box 868, Ben Franklin Station
                                        Washington, D.C. 20044
23
                                        Tel: (202) 532-4824
24                                      Email: sarah.b.fabian@usdoj.gov
25
                                         Attorneys for Defendants
26
27
28
                                                 18
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 23 of 25 Page ID
                                     #:41128


 1
                           DECLARATION OF SARAH B. FABIAN
 2
              I, Sarah B. Fabian, declare pursuant to 28 U.S.C. § 1746 that:
 3
        1.     I am an attorney with the Office of Immigration Litigation, Civil Division,
 4
        Department of Justice, Washington, D.C., and, in such capacity, have been
 5
        assigned by the Department of Justice as counsel to the defense of this action. This
 6
 7
        Declaration is submitted in support of Defendants’ Ex Parte Application to Stay

 8
        the District Court’s September 4 Order.

 9      2.     The Court entered an Order on September 4, 2020, ECF No. 976.

10      3.     I e-mailed Plaintiffs’ counsel regarding a stay in this matter on September

11      17, 2020. I advised Plaintiffs’ counsel that any opposing papers must be filed no
12      later than 24 hours (or one court day) following service. Plaintiffs’ counsel was
13      also advised that if Plaintiffs do not intend to oppose the ex parte application,
14      counsel must inform the Courtroom Deputy Clerk as soon as possible.
15      4.     On September 17, 2020, Carlos Holguin, counsel for Plaintiffs, responded
16      and indicated that Plaintiffs intend to file an opposition.
17      5.     Mr. Holguin’s contact information is:
18
        Carlos Holguin
19      256 South Occidental Boulevard
20      Los Angeles, CA 90057
        Telephone: (213) 388-8693
21      Facsimile: (213) 386-9484
22      Email:pschey@centerforhumanrights.org
23
24
25
26
27
28
                                                  19
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 24 of 25 Page ID
                                     #:41129


 1
              I declare under penalty of perjury that the foregoing is true and correct.
 2
        Executed this 17th day of September, 2020, in the City of Denver, Colorado.
 3
 4
                                                     /s/ Sarah B. Fabian
 5
                                                     SARAH B. FABIAN
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               20
     Case 2:85-cv-04544-DMG-AGR Document 985 Filed 09/17/20 Page 25 of 25 Page ID
                                     #:41130


 1
                                    CERTIFICATE OF SERVICE
 2
 3            I hereby certify that on September 17, 2020, I served the foregoing pleading
 4
        and attachments on all counsel of record by means of the District Clerk’s CM/ECF
 5
        electronic filing system.
 6
 7
 8
                                                    /s/ Sarah B. Fabian
 9
                                                    SARAH B. FABIAN
10                                                  U.S. Department of Justice
                                                    District Court Section
11
                                                    Office of Immigration Litigation
12
13
                                                    Attorney for Defendants

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               21
